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                Exhibit A
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         Case 1:22-cv-10344-MPK Document




                            COMMONWEALTH OF MASSACHUSETTS


MIDDLESEX, ss                                                    SUPERIOR COURT
                                                                 CIVIL ACTION NO.:
__________________________________________
EXRO TECHNOLOGIES INC.,
12-21 Highfield Circle S.E.                :
Calgary, Alberta T2G
                                           :
                            Plaintiff,
                                           :                               2/15/2022         HG
              v.
                                           :
EPROPELLED INC.
Serve: Corporation Service Company         :
       85 State Street
       Boston, MA 02109
                                           :
                            Defendant.
__________________________________________:

                                             COMPLAINT

        Plaintiff, EXRO TECHNOLOGIES, INC. (hereinafter, “Exro” or “Plaintiff”), by and

through its undersigned counsel, hereby files this Complaint against Defendant EPROPELLED,

INC. (hereinafter “ePropelled” or “Defendant”) and alleges the following:

                                           INTRODUCTION

        1.         This litigation concerns the bad faith tactics of ePropelled in publishing an untrue,

libelous and defamatory statement about Exro in a press release in a transparent attempt to harm

Exro and gain a market advantage.

        2.         Exro and ePropelled both have technology targeting the mobility electrification

segment. Due to the rapidly-increasing demand for innovation and the fundraising and investing

needed to fulfill such demand, the clean power electronics industry is highly competitive.

        3.         After a few private communications, in which ePropelled raised purported concerns

about similarities between Exro’s technology and a patent owned by ePropelled and Exro


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responded, ePropelled launched a surprise—and unsupported—press release that claimed that

Exro never responded to its initial letter. This statement was completely false and is plainly

contradicted by the parties’ written correspondence.

       4.       This false public statement had the intended effect: Exro has suffered significant

damage in the form of falling stock prices and decreased investor and market confidence.

       5.       ePropelled must be held accountable for its tortious conduct and should be required

to compensate Exro for the damage it has deliberately, and without justification, caused to Exro.

                                         THE PARTIES

       6.       Exro is, and has at all relevant times been, a foreign corporation organized under

the laws of the Province of British Columbia, Canada, with a principal place of business located

at 12-21 Highfield Circle S.E., Calgary, Alberta T2G.

       7.       ePropelled is, and has at all relevant times been, a foreign corporation organized

under the laws of the State of Delaware, with a principal place of business located at 116 John

Street, Suite 205, Lowell, Massachusetts 01852.

                                        JURISDICTION

       8.       This Court has jurisdiction over this matter in accordance with Mass. Gen. Laws.

Ch. 212, § 4.

       9.       This Court has personal jurisdiction over ePropelled because ePropelled’s principal

place of business is located within the Commonwealth of Massachusetts.

       10.      Venue is proper pursuant to Mass. Gen. Laws Ch. 223, §§ 1 & 8 inasmuch as

ePropelled’s principal place of business is located within this county and a substantial number of

the events giving rise to the Exro’s claims occurred in this county.




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                                   GENERAL ALLEGATIONS

    A. Factual Background

        11.      Exro is a clean technology company that designs and manufactures intelligent

control solutions in power electronics. Its products and technology expand the capabilities of

electric motors, generators, and batteries and enable those applications to achieve more with less

energy consumed. In particular, Exro has pioneered an advanced motor control technology, the

Coil DriverTM, that expands the capabilities of electric powertrains by enabling intelligent

optimization for efficient energy consumption.

        12.      On information and belief, ePropelled designs intelligent motors, motor controllers,

generators, and power management systems, that can be utilized, inter alia, in the aerospace,

manned and unmanned aerial vehicles, electric vehicles, and pump markets.

        13.      Exro and ePropelled have technology targeting the same market in the clean power

electronics industry; and they specifically compete in the design, manufacture, and sale of

intelligent motor technology, power management applications, and control solutions.

    B. The Parties’ Exchange of Correspondence

        14.      On October 7, 2021, ePropelled reached out—for the first time—to Exro by sending

a letter.    In it, ePropelled wrote that it wished to “bring to [Exro’s] attention” that ePropelled

believed that Exro held a patent, Patent No. 9,812,981 B2 (the “’981 Patent”) that was similar to

a patent held by ePropelled, Patent No. 7,382,103 (the “’103 Patent”), and asking Exro to “explain

how [Exro’s] Coil DriverTM technology is different to [ePropelled’s] existing patent.” A copy of

ePropelled’s October 7, 2021 correspondence (“ePropelled’s October 7 Letter”) is attached as

Exhibit “A.”

        15.      As support for its conclusion that the patents were “similar,” ePropelled’s October

7 Letter included a chart purporting to compare the two patents. The chart contained side-by-side

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purported concepts from each party’s patent that were displayed with no information explaining

their relevance or how a comparison of the two patents could possibly amount to patent

infringement.

       16.      ePropelled’s October 7 Letter closed with an invitation for Exro to “explain how

[its] Coil DriverTM technology is different to [ePropelled’s] existing patent.”

       17.      On November 4, 2021, Exro responded to ePropelled’s October 7 Letter through

its counsel (“Exro’s November 4 Response”). A copy of Exro’s November 4 Response is

attached as Exhibit “B.”

       18.      In Exro’s November 4 Response, Exro stated that, while it was “investigating the

claims in ePropelled’s letter” and “respects valid and enforceable third-party patent rights,”

ePropelled’s October 7 Letter simply did not “provide sufficient information for Exro to

meaningfully investigate this matter and provide a substantive response.” Exro’s November 4

Response proceeded to note that ePropelled’s October 7 Letter did not provide any analysis of the

claims of either patent, but rather cited to a chart purporting to contain various information from

each patent and put the onus on Exro to explain how Exro’s “Coil DriverTM technology is different

to [ePropelled’s] existing patent.”

       19.      Exro’s November 4 Response also specifically addressed various deficiencies in

ePropelled’s letter, including that it (1) did not include an infringement claim chart identifying

how ePropelled believes that Exro’s Coil DriverTM technology meets the limitations of

ePropelled’s patent claims; (2) failed to address ePropelled’s understanding of the scope of

ePropelled’s patent claims, including those limitations that are drafted using means-plus-function

language (governed by 35 U.S.C. § 112, ¶ 6) but appear to lack support of corresponding structure




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in ePropelled’s patent; and (3) failed to identify which “particular Exro product(s) ePropelled

alleges to infringe [ePropelled’s] patent and the specific features of each.”

       20.     Exro’s November 4 Response concluded with a request that ePropelled provide the

information identified by Exro—including a proper infringement claim chart—by a date certain

so Exro could “investigate ePropelled’s allegations and provide a substantive response.”

       21.     ePropelled responded four days later, on November 8, 2021. Rather than providing

the requested information to enable Exro to engage in a meaningful investigation of its allegations,

ePropelled provided a two-paragraph response directly from its counsel (“ePropelled’s November

8 Response”). A copy of ePropelled’s November 8 Response is attached as Exhibit “C.”

ePropelled’s November 8 Response acknowledged Exro’s November 4 Response, and clarified

that ePropelled “has not accused Exro of infringement [and] has not conducted an infringement

analysis.” ePropelled’s November 8 Response conceded that ePropelled had not provided an

infringement claim chart, instead stating that it had provided “a chart showing the similarities

between the parties’ respective patents” and on that basis concluded that ePropelled had “already

provided [Exro] with information sufficient for [its] own evaluation.”

       22.     Critically, ePropelled’s November 8 Response did not address or engage with any

of the substantive concerns raised by Exro’s November 4 Response.

   C. ePropelled Blindsides Exro With Defamatory Press Release That is Expressly
      Contradicted by the Parties’ Correspondence

       23.     For over two months thereafter, Exro did not hear further from ePropelled, and in

particular, ePropelled did not reach out further to discuss the substantive concerns set forth in

Exro’s November 4 Response.

       24.     Instead, on January 24, 2022, ePropelled blindsided Exro by publishing—without

warning—a press release to its website announcing that it had filed suit against Exro for patent

                                                  5
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infringement in the District of Massachusetts (the “ePropelled Press Release”). A copy of the

ePropelled Press Release is attached as Exhibit “D.” Critically, the ePropelled Press Release states

as follows:

               ePropelled respects the intellectual property rights of others and will
               vigorously defend its own intellectual property. After proactively
               reaching out to Exro Technologies Inc. to discuss the issue with
               no response, the company took legal action to protect
               ePropelled’s Dynamic Torque SwitchingTM (eDTSTM) technology
               that is core to its business and the company has invested millions
               to develop and commercialize for more than a decade.

Id. (emphasis added.).

       25.     ePropelled included Exro’s stock ticker symbol in its Press Release, knowing full-

well that its inclusion that would cause the press release to be picked up and connected to any

search relating to Exro.

       26.     The bolded statement in the press release excerpt above, hereinafter the

“Defamatory Statement,” was false when made. Exro did respond to “the issue,” i.e., the

intellectual property issues raised in ePropelled’s October 7 Letter, in Exro’s November 4

Response. Indeed, Exro’s November 4 Response directly engaged “the issue,” raising substantive

areas of concern with ePropelled’s claims and identifying additional information needed from

ePropelled in order to undertake its own analysis. Critically, ePropelled’s November 8 Response

failed even to address—much less provide documentation concerning—the concerns expressed in

Exro’s November 4 Response, obviating any further reply and engagement from Exro.

       27.     The Defamatory Statement is all the more troubling given that ePropelled’s

November 8 Response specifically acknowledged that Exro did respond to ePropelled’s initial

inquiry. ePropelled’s November 8 Response begins: “This will respond on behalf of ePropelled

to [Exro’s] letter dated November 4, 2021.”



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       28.     ePropelled’s publication of the Defamatory Statement was clearly made with

knowledge of its falsity and therefore constitutes reckless, intentional, willful, and malicious

conduct. It is clear that, through the ePropelled Press Release, ePropelled was intent on falsely

portraying a market participant as nonresponsive, indifferent, or inactive in the face of allegations

of patent infringement.

       29.     Exro responded immediately to the ePropelled Press Release. On January 25, 2022,

Exro published its own press release, clarifying that “[c]ontrary to allegations made by ePropelled,

Exro diligently investigated and promptly responded to ePropelled’s inquiry. Based on Exro’s

response, ePropelled then clarified that it was not accusing Exro of infringement and stated that it

had not conducted an infringement analysis. ePropelled made no further communication with Exro

prior to filing suit.” A copy of Exro’s January 25, 2022, press release is attached as Exhibit “E.”

       30.     In a blatant attempt to try to cover up its Defamatory Statement, ePropelled issued

a second press release, dated January 27, 2022, which was titled “ePropelled Provides Complaint

Details in Response to Exro Technologies Inc. Claims on Patent Infringement Lawsuit”

(“ePropelled’s January 27 Press Release,” a copy of which is attached as Exhibit “F”). At the

bottom of the third paragraph, ePropelled’s January 27 Press Release states that “Exro

Technologies Inc. did not respond with information sufficient to resolve the dispute, prompting

ePropelled to file suit.” This statement—at the bottom of the press release—was not described as

a “retraction,” or any type of “clarification.” And it did nothing to clarify the falsity of the

Defamatory Statement. It also fails to provide the reader with important contextual information—

for example, that Exro had in fact responded to ePropelled’s initial letter, that Exro had, in fact

provided substantive responses and concerns, that Exro had, in fact, sought further information

from ePropelled, and that ePropelled, in fact, never provided any such information or



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clarifications. Indeed, ePropelled’s January 27 Press Release also fails to explain to the reader that

ePropelled even told Exro explicitly that it was not accusing Exro of patent infringement and had

not conducted an infringement analysis.

        31.      ePropelled’s January 27 Press Release was too little too late, and the damage was

already done. ePropelled’s January 27 Press Release was posted, tipped to, or picked up by

multiple national outlets, including PRNewswire,1 Bloomberg,2 and Barron’s.3

        32.      Moreover, ePropelled’s publication of the Defamatory Statement caused injury to

Exro and its investors. Exro’s stock price fell over 27% in the next full trading day after ePropelled

published the Defamatory Statement—from $1.79 on Friday, January 21, 2022, the last active

trading day before ePropelled published the Defamatory Statement, to $1.31 on January 25, 2022.4

        33.      The Defamatory Statement has also significantly damaged Exro’s relationships

with both current and prospective investors. Indeed, investors have specifically reached out to

Exro with concerns over the implication that Exro did not initially respond to ePropelled’s

accusations—an implication which ePropelled knew was patently false when made.

                                      COUNT I: DEFAMATION

        34.      Exro incorporates by reference each and every allegation set forth above as if fully

recounted herein.

        35.      ePropelled made false and defamatory written statements about Exro by publishing

the Defamatory Statement in the ePropelled Press Release.                   The ePropelled Press Release




1
  https://www.prnewswire.com/news-releases/epropelled-files-patent-infringement-lawsuit-against-exro-
technologies-inc-301466767.html (last accessed on February 11, 2022)
2
  https://www.bloomberg.com/press-releases/2022-01-24/epropelled-files-patent-infringement-lawsuit-against-exro-
technologies-inc (last accessed on February 11, 2022)
3
  https://www.barrons.com/articles/epropelled-files-patent-infringement-lawsuit-against-exro-technologies-inc-
01643050983?mod=md_stockoverview_news (last accessed on February 11, 2022)
4
  https://www.marketwatch.com/investing/stock/exrof (last accessed February 11, 2022)

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contained Exro’s stock ticker which had the obvious and intended effect of drawing investor and

public market attention.

           36.     ePropelled published the Defamatory Statement with knowledge of its falsity.

Specifically, ePropelled knew that Exro had responded to its October 7 Letter—indeed, ePropelled

acknowledged this in its November 8 Response: “[t]his will respond on behalf of ePropelled to

[Exro’s] letter dated November 4, 2021,” a letter in which Exro responded to ePropelled’s vague

and meritless “allegations” and directly engaged with ePropelled. Thus, ePropelled’s publication

of the Defamatory Statement, which it knew was false when made, amounts to reckless,

intentional, willful, and malicious conduct.

           37.     ePropelled’s publication of the Defamatory Statement has injured Exro, including

damage to its reputation and standing in the industry.

           38.     The ePropelled Press Release was posted, tipped to, or picked up by multiple

national outlets, including PRNewswire, Bloomberg, and Barron’s, significantly harming Exro’s

professional reputation and reputation in the community as well as its credibility with investors

and the market.

           39.     Exro’s stock price fell over 27% in the next full trading day after ePropelled

published the Defamatory Statement—from $1.79 on Friday, January 21, 2022, the last active

trading day before ePropelled published the Defamatory Statement, to $1.31 on January 25,

2022—and continues to fall.5

           40.     The Defamatory Statement has significantly damaged Exro’s relationships with

both current and prospective investors. Exro has had to expend time and resources managing

investor concerns in light of the Defamatory Statement.



5
    https://www.marketwatch.com/investing/stock/exrof (last accessed February 11, 2022)

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         41.    ePropelled’s Defamatory Statement has caused damage to Exro, in excess of

$50,000, plus other costs, expenses and damages to be proven at trial.

                 COUNT II – VIOLATION OF MASS. GEN. LAWS CH. 93A

         42.    Plaintiff incorporates by reference each and every allegation set forth above as if

fully recounted herein.

         43.    Exro and ePropelled are each engaged in trade or commerce.

         44.    As described in detail above, by making and publishing the Defamatory Statement

in the ePropelled Press Release, ePropelled engaged in an unfair method of competition in

violation of Mass. Gen. Laws Ch. 93A, §§ 2 & 11, by publishing false statements meant to defame

or with the effect of defaming Exro, a competitor.

         45.    ePropelled’s actions and practices set forth herein caused Exro injury and damage

and said actions and practices were, on information and belief, willful or knowing and in violation

of Mass. Gen. Laws Ch. 93A, §§2 & 11, which entitles Exro to double or treble damages, and its

reasonable attorneys’ fees.

         46.    The events underlying the unfair methods, acts or practices detailed herein, which

concern the publication of defamatory statements made from ePropelled’s headquarters in Lowell,

Massachusetts, primarily and substantially occurred within the Commonwealth of Massachusetts.

         47.    ePropelled’s violations of Mass. Gen. Laws Ch. 93A, §§ 2 & 11 have caused

damage to Exro, in excess of $50,000, plus other costs, expenses, and damages to be proven at

trial.

                                         Prayer for Relief


         WHEREFORE, Plaintiff requests that this Court:

         A. Enter judgment in favor of Exro as to each Count of the Complaint;


                                                 10
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       B. Award Exro its damages including attorneys’ fees and costs, plus interest as allowed

           by law;

       C. Award Exro double or treble damages pursuant to Mass. Gen. Laws Ch. 93A as to

           Count II of the Complaint;

       D. Grant such further relief as is necessary and proper.

                                     Demand for Jury Trial

Plaintiff, Exro, hereby demands a trial by jury.

                                                        COZEN O’CONNOR




Dated: February 15, 2022
                                                        Wendy K. Venoit, Esq.
                                                        BBO #: 568657
                                                        Attorneys for Plaintiff
                                                        EXRO TECHNOLOGIES, INC.
                                                        101 Arch Street, 8th Floor
                                                        Boston, Massachusetts 02110
                                                        (617) 849-5002
                                                        wveniot@cozen.com




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               Exhibit A
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                Exhibit B
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November 4, 2021                                                              Thomas J. Fisher
                                                                              Direct Phone 202-471-3430
                                                                              tfisher@cozen.com

VIA COURIER AND E-MAIL (DWOO@GOODWINLAW.COM)
Mr. Darryl Woo
Goodwin Procter LLP
Three Embarcadero Center
28th Floor
San Francisco, CA 94111

Re:    U.S. Patent No. 7,382,103 B2

Dear Mr. Woo:

I write on behalf of Exro Technologies Inc. in response to ePropelled, Inc.’s letter from Dr. Nabeel
Shirazee dated October 7, 2021. Please direct all future correspondence concerning this matter
to Cozen O’Connor because we represent Exro in this matter.

Exro is investigating the claims in ePropelled’s letter concerning U.S. Patent No. 7,382,103 B2
(“the ‘103 patent”). Exro respects valid and enforceable third-party patent rights and has reviewed
the ‘103 patent and its prosecution history.

ePropelled’s letter does not provide sufficient information for Exro to meaningfully investigate this
matter and provide a substantive response.

In particular, the letter summarily states that “Exro’s ‘981 patent claims cover the same invention
disclosed and claimed in [ePropelled’s ‘103 patent],” but does not provide any analysis of the
claims of either patent. Instead, the letter provides a chart purporting to compare ePropelled’s
patent to Exro’s patent, and requesting that Exro “explain how the Exro’s Coil DriverTM technology
is different to [ePropelled’s] existing patent.”

To the extent that ePropelled’s allegation is that Exro’s technology is covered by the ‘103 patent,
please provide an infringement claim chart so that Exro can meaningfully investigate this matter.
In doing so, please provide ePropelled’s understanding of the scope of the ‘103 patent claims.
For example, we note that there are a number of limitations in the claims of the ‘103 patent that
are drafted using means-plus-function language that are governed by 35 U.S.C. § 112, ¶ 6.
Based on our initial review of the ‘103 patent, a number of these terms are not supported by
corresponding structure in the ‘103 patent specification. As part of your claim chart, please
include an identification of the structure in the ‘103 patent specification that ePropelled believes
to correspond to the means-plus-function limitations. In addition, please identify which particular
Exro product(s) ePropelled alleges to infringe the ‘103 patent and the specific features of each.

Please provide the above-requested information by November 12, 2021, so that we can
investigate ePropelled’s allegations and provide a substantive response.




                                1200 19th Street, NW Washington, DC 20036
                        202.912.4800   800.540.1355   202.861.1905 Fax      cozen.com
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Mr. Darryl Woo
November 4, 2021
Page 2
______________________________________

Sincerely,

COZEN O'CONNOR




By:    Thomas J. Fisher
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                                                                   2/15/2022




               Exhibit C
             Case 1:22-cv-10344-MPK Document 1-1 Filed 03/04/22 Page 20 of 33

                                              Darryl Woo                       Goodwin Procter LLP
                                                                               Three Embarcadero Center, Suite 2800
                                                                               San Francisco, CA 94111

                                                                               goodwinlaw.com
                                                                               +1 415 733 6000




November 8, 2021



VIA EMAIL (TFISHER@COZEN.COM)

Thomas J. Fisher
Cozen O’Connor
1200 19th Street, NW
Washington, DC 20036

Re:     U.S. Patent No. 7,382,103 B2

Dear Mr. Fisher:

This will respond on behalf of ePropelled to your letter dated November 4, 2021.

Contrary to the positions expressed in your letter, ePropelled has already provided your client with
information sufficient for your client’s own evaluation, including a chart showing the similarities
between the parties’ respective patents. Furthermore, Exro is on notice of ePropelled’s ’103 patent and
its priority date pre-dating, by more than a year, the earliest application date for Exro’s ’981 patent.
Consistent with your representation that “Exro respects valid and enforceable third-party patent rights,”
Exro should refrain from infringing ePropelled’s ’103 patent.

ePropelled, however, has not accused Exro of infringement, has not conducted an infringement analysis,
and neither does it have any obligation to do that or provide any construction of its patent’s
claims. Rather, we will leave that up to you to evaluate and advise your client as appropriate.


Sincerely,




Darryl M. Woo

DW




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               Exhibit D
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                                                                      ePropelled Files Patent           1-1
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                                                                                                                                                  – ePropelled




         ePropelled Files
         Patent Infringement
         Lawsuit Against Exro
         Technologies Inc.

         LOWELL, Mass. | January 24, 2022 – ePropelled, the Massachusetts-based technology company that offers leading-edge electric propulsion
         systems, filed a patent infringement lawsuit against Exro Technologies Inc. (TSX: EXRO; OTCQB: EXROF) on January 21, 2022, in the U.S. District Court
         for the District of Massachusetts.

         A leading expert in magnetic engineering innovations that dramatically improve electric motor and generator efficiencies for propulsion systems in
         many industries, ePropelled respects the intellectual property rights of others and will vigorously defend its own intellectual property. After
         proactively reaching out to Exro Technologies Inc. to discuss the issue with no response, the company took legal action to protect ePropelled’s
         Dynamic Torque SwitchingTM (eDTSTM) technology that is core to its business and the company has invested millions to develop and commercialize for
         more than a decade.

         The company’s eDTSTM technology allows an electric motor to provide high torque at low speeds without drawing high current from the batteries,
         operate at high speeds without deep field weakening, and reconfigure windings using switches in parallel, series, and combinations on the fly (while
         operating). A revolutionary advancement for the electric vehicle (EV) market, eDTSTM delivers a significant improvement in power efficiency and
         performance, which can translate into, for example, a net reduction in EV cost through smaller battery packs, extended driving range, or a combination
         of the two.

         Recognizing that its intellectual property are important company assets, ePropelled maintains a worldwide intellectual property portfolio of patents
         and trademarks, including U.S. 7,382,103, relating to its eDTS TM technology.

         About ePropelled

         ePropelled designs intelligent motors, motor controllers, generators, and power management systems. Our technology helps reduce energy
         consumption and improve system efficiency at a lower cost in the aerospace, manned and unmanned aerial vehicles, electric vehicles, and pump
         markets. We are a leader in magnetics engineering, and our patented technology innovations are used in the air, on the road, and on water, defining
         the future of electric propulsion.

         ePropelled has offices in the United States, Europe, and India and collaborates with manufacturers of all types and sizes around the world. For more
         information, please visit epropelled.com.

         Contact:

         Kim Schofield, Corporate Marcom Manager
         +1-603-234-4000
         kim@ePropelled.com




         CONTACT


               Call us                                                               Mail us
                +1 978-703-1350                                                        info@epropelled.com


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https://epropelled.com/epropelled-files-patent-infringement-lawsuit-against-exro-technologies-inc/                                                                1/2
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                                                                                                                                                  – ePropelled


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                Exhibit E
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                                         Exro Stands             1-1Against
                                                     with Confidence   Filed   03/04/22
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                                                                                               False Claims




                                  News            Investors             Technology               About   Contact   EXRO $1.42




    NEWS » PRESS RELEASE



    Exro Stands with
    Confidence Against
    Patent Infringement
    False Claims
    January 25, 2022




                            Exro recognizes the importance of intellectual property,
                            actively protects its own IP and respects other companies’
                            valid IP rights.

                            Exro takes exception to ePropelled Inc.’s unmerited patent
                            infringement lawsuit and its inaccurate statement that Exro did
                            not respond to ePropelled’s inquiry to Exro concerning
                            ePropelled’s patent.

                            Exro will investigate the allegations set forth in the complaint,
                            and vigorously defend its technology.

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2/11/22, 2:24 AM       Case 1:22-cv-10344-MPK     Document
                                          Exro Stands             1-1Against
                                                      with Confidence   Filed   03/04/22
                                                                             Patent InfringementPage    26 of 33
                                                                                                False Claims




                   Calgary, Alberta (January 25, 2022) – Exro Technologies Inc. (TSX:
                   EXRO, OTCQB: EXROF) (the “Company” or “Exro”), a leading clean
                   technology company that has developed a new class of power
                   electronics for electric motors and batteries, is issuing the following
                   statement in response to the press release issued by ePropelled Inc. on
                   January 24, 2022, concerning a patent infringement lawsuit it filed
                   against the Company on January 21, 2022.

                   As a technology company, Exro recognizes the importance of
                   intellectual property (“IP”), and actively strives to protect and maintain
                   its IP rights, which includes securing patents covering its technology
                   both in the United States and internationally. Exro also steadfastly
                   respects other companies’ valid IP rights.

                   Contrary to allegations made by ePropelled, Exro diligently investigated
                   and promptly responded to ePropelled’s inquiry. Based on Exro’s
                   response, ePropelled clarified that it was not accusing Exro of
                   infringement and stated that it had not conducted an infringement
                   analysis. ePropelled made no further communication with Exro prior to
                   filing suit.

                   “Not only does Exro respect other companies’ intellectual property
                   rights, but we are also incredibly confident in our ability to defend our
                   technology,” said Exro CEO Sue Ozdemir. “While we are disappointed in
                   both the unmerited patent infringement lawsuit and the false claims
                   made by ePropelled, we are thankful for the support we have received
                   from the Exro community. We will continue focusing on our business
                   strategy that demonstrates how Exro’s ability to continuously innovate
                   will solidify its position in the electric mobility market.

                   As it did in response to ePropelled’s inquiry, Exro will investigate the
                   allegations set forth in the complaint, and vigorously defend its
                   technology.

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                                                                                                False Claims

                   About Exro Technologies Inc.

                   ‍Exro is a clean technology company pioneering intelligent control
                   solutions in power electronics to help solve the most challenging
                   problems in electrification. Exro has developed a new class of control
                   technology that expands the capabilities of electric motors, generators,
                   and batteries. Exro enables the application to achieve more with less
                   energy consumed.

                   Exro’s advanced motor control technology, the Coil DriverTM, expands
                   the capabilities of electric powertrains by enabling intelligent
                   optimization for efficient energy consumption. Exro is working with
                   many partners from all over the world to bring their technology to the
                   electric mobility industries and beyond.

                   For more information visit our website at www.exro.com.

                   Visit us on social media @exrotech.

                   ‍

                   Contact Information

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                   Canada investors: Jake Bouma at 604-317-3936

                   United States investors: Vic Allgeier at 646-841-4220

                   Media inquiries: media@exro.com

                   ‍

                   CAUTIONARY STATEMENT REGARDING FORWARD LOOKING
                   STATEMENTS

                   This news release contains forward-looking statements and forward-
                   looking information (together, "forward-looking statements") within the
                   meaning of applicable securities laws. All statements, other than
                   statements of historical facts, are forward-looking statements.
                   Generally, forward-looking statements can be identified by the use of

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                                                                                               False Claims

                   terminology such as "plans", "expects”, "estimates", "intends",
                   "anticipates", "believes" or variations of such words, or statements that
                   certain actions, events or results "may", "could", "would", "might", "will be
                   taken", "occur" or "be achieved". Forward looking statements involve
                   risks, uncertainties and other factors disclosed under the heading “Risk
                   Factors” and elsewhere in the Company’s filings with Canadian
                   securities regulators, that could cause actual results, performance,
                   prospects and opportunities to differ materially from those expressed
                   or implied by such forward-looking statements. Although the Company
                   believes that the assumptions and factors used in preparing these
                   forward-looking statements are reasonable based upon the information
                   currently available to management as of the date hereof, actual results
                   and developments may differ materially from those contemplated by
                   these statements. Readers are therefore cautioned not to place undue
                   reliance on these statements, which only apply as of the date of this
                   news release, and no assurance can be given that such events will
                   occur in the disclosed times frames or at all. Except where required by
                   applicable law, the Company disclaims any intention or obligation to
                   update or revise any forward-looking statement, whether as a result of
                   new information, future events or otherwise.

                   This information is qualified in its entirety by cautionary statements
                   and risk factor disclosure contained in filings made by the Company
                   with the Canadian securities regulators, including the Company’s
                   annual information form for the financial year ended December 31,
                   2020, and financial statements and related MD&A for the financial year
                   ended December 31, 2020, filed with the securities regulatory
                   authorities in certain provinces of Canada and available at
                   www.sedar.com. Should one or more of these risks or uncertainties
                   materialize, or should assumptions underlying the forward-looking
                   information prove incorrect, actual results may vary materially from
                   those described herein as intended, planned, anticipated, believed,
                   estimated or expected. Although the Company has attempted to
                   identify important risks, uncertainties and factors which could cause
                   actual results to differ materially, there may be others that cause
                   results not to be as anticipated, estimated or intended. The Company

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                                                                                               False Claims

                   does not intend, and does not assume any obligation, to update this
                   forward-looking information except as otherwise required by applicable
                   law.

                   Neither the Toronto Stock Exchange nor the Investment Industry
                   Regulatory Organization of Canada accepts responsibility for the
                   adequacy or accuracy of this press release.




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                Exhibit F
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                                                        ePropelled Provides Complaint Details Document       1-1Technologies
                                                                                              in Response to Exro Filed 03/04/22
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                                                                                                                                                   Infringement          – ePropelled




         ePropelled
         Provides Complaint
         Details in Response to
         Exro Technologies Inc.
         Claims on Patent
         Infringement Lawsuit

         LOWELL, Mass. | January 27, 2022 – ePropelled, the Massachusetts-based technology company that offers leading-edge electric propulsion
         systems, today announced further details to the patent infringement lawsuit the company filed against Exro Technologies Inc. (TSX: EXRO, OTCQB:
         EXROF) on January 21, 2022.

         In response to the press release issued by Exro Technologies Inc. on January 25, 2022, in which Exro Technologies Inc. called ePropelled’s patent
         litigation, “meritless,” ePropelled provides this link to the Complaint.

         Before filing suit, ePropelled notified Exro Technologies Inc. that ePropelled’s Dynamic Torque Switching™ technology, which allows electric vehicle
         (EV) motors to switch between parallel and in series configurations while operating, was patented by U.S. Patent No. 7,382,103, and that Exro
         Technologies Inc.’s Coil Drive System™ fell within the scope of the patent. Exro Technologies Inc. did not respond with information sufficient to resolve
         the dispute, prompting ePropelled to file suit.

         About ePropelled

         ePropelled designs intelligent motors, motor controllers, generators, and power management systems. Our technology helps reduce energy
         consumption and improve system efficiency at a lower cost in the aerospace, manned and unmanned aerial vehicles, electric vehicles, and pump
         markets. We are a leader in magnetics engineering, and our patented technology innovations are used in the air, on the road, and on water, defining
         the future of electric propulsion.

         ePropelled has offices in the United States, Europe, and India and collaborates with manufacturers of all types and sizes around the world. For more
         information, please visit epropelled.com.

         ###

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